             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:13-cr-00079-MR-DLH-3


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                           ORDER
                                 )
JOHN MATTHEW FRADY,              )
                                 )
                   Defendants.   )
________________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Indictment [Doc. 297].

     Upon review of the Government’s motion, and for cause shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 297] is GRANTED, and the Bill of Indictment in the above-

captioned case, as it relates to the Defendant John Matthew Frady only, is

hereby DISMISSED WITHOUT PREJUDICE.

     The Clerk is directed to provide copies of this Order to counsel for the

Government, the U.S. Marshals Service, and the U.S. Probation Office.

     IT IS SO ORDERED.           Signed: October 24, 2016




   Case 1:13-cr-00079-MR-WCM      Document 298          Filed 10/24/16   Page 1 of 1
